                                                                                Case 3:18-cv-00360-WHA Document 159 Filed 01/17/19 Page 1 of 2



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5
                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9   UNILOC USA, INC.; and UNILOC                                        No. C 18-00360 WHA
                                                                         10   LUXEMBOURG, S.A.,                                                   No. C 18-00363 WHA
                                                                                                                                                  No. C 18-00365 WHA
                                                                         11                     Plaintiffs,                                       No. C 18-00572 WHA
United States District Court




                                                                                v.
                               For the Northern District of California




                                                                         12                                                                       ORDER RE ADMINISTRATIVE
                                                                         13   APPLE INC.,                                                         MOTIONS TO FILE UNDER
                                                                                                                                                  SEAL AND MOTION TO
                                                                         14                     Defendant.                                        INTERVENE

                                                                         15                                                       /

                                                                         16              In connection with the motion to dismiss for lack of subject-matter jurisdiction, both
                                                                         17   sides filed administrative motions to file under seal (Dkt. Nos. 134, 141, 146).* Here,
                                                                         18   “compelling reasons supported by specific factual findings that outweigh the general history of
                                                                         19   access and the public policies favoring disclosure” are required to justify sealing. Ctr. for Auto
                                                                         20   Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1101 (9th Cir. 2016); Kamakana v. City & Cty. of
                                                                         21   Honolulu, 447 F.3d 1172, 1178–79 (9th Cir. 2006).
                                                                         22              Each of the aforementioned administrative motions seeks to seal information based on
                                                                         23   plaintiffs’ confidentiality designations. Plaintiffs’ supporting declarations claim that the
                                                                         24   documents contain “confidential and proprietary information related to financial data, licensing
                                                                         25   terms and business plans with respect to various Uniloc entities” and that disclosure of such
                                                                         26   information “would create a substantial risk of serious harm to the Uniloc entities” (e.g., Dkt.
                                                                         27   No. 137 ¶ 4). This, by itself, fails to show a compelling reason to justify sealing.
                                                                         28


                                                                                     *
                                                                                         The docket numbers referenced herein relate to Case No. C 18-00360 WHA.
                                                                                Case 3:18-cv-00360-WHA Document 159 Filed 01/17/19 Page 2 of 2



                                                                          1           First, the declarations provide no further explanation regarding why or how public
                                                                          2   disclosure of this information could cause commercial harm. Plaintiffs’ generalized assertion of
                                                                          3   potential competitive harm fails to outweigh the public’s right to learn of the ownership of the
                                                                          4   patents-in-suit — which grant said owner the right to publicly exclude others. This is especially
                                                                          5   true given that the law has developed regarding standing issues, which turns on machinations
                                                                          6   such as those at issue in the instant actions. Second, the scope of plaintiffs’ requests is
                                                                          7   astonishing. Plaintiffs seek to seal the majority of exhibits and large swaths of briefing and
                                                                          8   declarations. Even a cursory review reveals that plaintiffs’ requested redactions contain non-
                                                                          9   sealable material. As one non-exhaustive example, plaintiffs seek to redact portions of
                                                                         10   defendant Apple Inc.’s motion that simply quote Federal Circuit law (e.g., Dkt. No. 134-4 at
                                                                         11   15). The requests are thus far from “narrowly tailored” as required by Civil Local Rule 79-5(b).
United States District Court
                               For the Northern District of California




                                                                         12           In short, plaintiffs’ supporting declarations fail to justify sealing of the aforementioned
                                                                         13   information. Accordingly, these administrative motions are DENIED. Plaintiffs have TWO
                                                                         14   WEEKS   to seek appellate review of this order to obtain redactions, failing which each movant
                                                                         15   shall file unredacted versions of their documents on the public docket by FEBRUARY 8 AT
                                                                         16   NOON.

                                                                         17                                  *               *              *
                                                                         18           In light of this order’s ruling on the administrative motions to file under seal, proposed
                                                                         19   intervenor Electronic Frontier Foundation’s motion to intervene (Dkt. No. 152) is GRANTED for
                                                                         20   the purpose of opposing plaintiffs at the United States Court of Appeals for the Federal Circuit
                                                                         21   in the event plaintiffs seek appellate review of this order. Proposed intervenor’s motion is
                                                                         22   otherwise DENIED.
                                                                         23
                                                                                      IT IS SO ORDERED.
                                                                         24
                                                                         25   Dated: January 17, 2019.
                                                                                                                                        WILLIAM ALSUP
                                                                         26                                                             UNITED STATES DISTRICT JUDGE
                                                                         27
                                                                         28


                                                                                                                                 2
